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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                        INTERNATIONAL TECHNOLOGICAL
                                   8    UNIVERSITY FOUNDATION,                              Case No. 5:18-cv-06228-EJD

                                   9                   Plaintiff,                           ORDER TO SHOW CAUSE RE
                                                                                            SETTLEMENT
                                  10            v.
                                                                                            Re: Dkt. Nos. 59, 63
                                  11    KIRSTJEN M NIELSEN, et al.,
                                  12                   Defendants.
Northern District of California
 United States District Court




                                  13          The parties, having filed a Response to this Court’s October 20, 2020 Order to Show Cause
                                  14   on December 7, 2020 notifying the Court that additional time until December 31, 2020 will be
                                  15   necessary to finalize and file a dismissal (See Docket Item No. 63) and having requested the Court
                                  16   reset the Order to Show Cause Hearing for a time after December 31, 2020, are ordered to appear
                                  17   before the Honorable Edward J. Davila on January 21, 2021 at 10:00 AM in Courtroom No. 4,
                                  18   5th Floor, United States District Court, 280 South First Street, San Jose, California, 95113, to
                                  19   show cause why the case should not be dismissed pursuant to Federal Rule of Civil Procedure
                                  20   41(b). On or before January 11, 2021, the parties shall file a joint statement in response to the
                                  21   Order to Show Cause setting forth the status of the parties’ efforts to finalize the settlement as well
                                  22   as the amount of additional time, if necessary, needed to finalize and file a dismissal.
                                  23          The Order to Show Cause shall be automatically vacated and the parties relieved of the
                                  24   obligation to file a joint statement if a stipulated dismissal pursuant to Federal Rule of Civil
                                  25   Procedure 41(a) is filed on or before January 11, 2021.
                                  26          All other pretrial deadlines and hearing dates are VACATED and any pending motions are
                                  27   TERMINATED.
                                  28   Case No.: 5:18-cv-06228-EJD
                                       ORDER TO SHOW CAUSE RE SETTLEMENT
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                                           Case 5:18-cv-06228-EJD Document 64 Filed 12/07/20 Page 2 of 2




                                   1          Failure to comply with any part of this Order will be deemed sufficient grounds to dismiss

                                   2   the action.

                                   3          IT IS SO ORDERED.

                                   4   Dated: December 7, 2020

                                   5                                                  ______________________________________
                                                                                      EDWARD J. DAVILA
                                   6                                                  United States District Judge
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Northern District of California
 United States District Court




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                                  28   Case No.: 5:18-cv-06228-EJD
                                       ORDER TO SHOW CAUSE RE SETTLEMENT
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